       Case: 1:18-cv-06986 Document #: 20 Filed: 11/01/18 Page 1 of 1 PageID #:50
                             UNITED STATES DISTRICT COURT
                                      Northern District of Illinois
                                      219 South Dearborn Street
                                        Chicago, Illinois 60604

Thomas G. Bruton                                                                    312-435-5670
Clerk


Date: 11/1/18                                                         Case Number:18 CV 6986
Case Title: Black & Pink v. Baldwin                                   Judge: Jorge L. Alonso
                                 NOTICE OF CORRECTION
     The following errors/deficiencies have been identified in document # [ 17                 ].
 The document is on the incorrect case. (If this is a motion, the docket clerk has termed the
  motion)
 The document is on the correct case but the case number and title do not match.
 The incorrect document [pdf] was linked to the entry.
 The incorrect file date was entered.
 The incorrect event was used. The title of the document does not match the text of the entry.
 The entry is a duplicate of entry [       ].
 Other:


Corrective action taken by the Clerk:
 The text of the entry has been replaced with Entered in Error.
 The following notation has been added to the text of the entry: Linked document has the
  incorrect case title, or, Linked document has the incorrect case number.
 The correct document [pdf] has been re-filed.
 The file date has been corrected.
 The text of the entry has been edited to reflect
 The text of the entry has been edited to read, Duplicate filing of document number [ ] .
 Other:


Corrective action required by the filer:
 Counsel must re-file the document
 Other:

                                                        Thomas G. Bruton, Clerk
                                                        By: /s/ Sheila Moore
                                                            Deputy Clerk


Rev. 8/13/18
